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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


MONSANTO COMPANY, PHARMACIA, LLC,
and SOLUTIA, INC.,

                         Plaintiffs,
            v.

MAGNETEK, INC.,                                           Case No. 4:23-cv-00204-HEA
GENERAL ELECTRIC CO.,
PARAMOUNT GLOBAL,                                         Jury Trial Demanded
KYOCERA AVX COMPONENTS
CORPORATION,
CORNELL-DUBILIER ELECTRONICS, INC.
And THE GILLETTE COMPANY LLC,

                         Defendants.


  DEFENDANT THE GILLETTE COMPANY LLC’S MEMORANDUM OF LAW IN
SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED PETITION

       Plaintiffs’ lawsuit against The Gillette Company LLC (“Gillette”) is a misplaced and

belated attempt to shift liability for alleged injuries arising out of the use of polychlorinated

biphenyls (“PCBs”) manufactured and supplied by Plaintiffs through the late 1970s. They broadly

allege that under Special Undertakings (“SUs”), the Defendants are generally liable to defend,

indemnify, and hold harmless Plaintiffs in third-party litigation for PCB-related injuries allegedly

sustained at various points in time across the country as a result of largely unspecified PCB releases

(the “PCB Lawsuits”). They further claim that Defendants’ alleged negligence resulted in the PCB

Lawsuits and that Plaintiffs have suffered damages as a result. Plaintiffs’ claims fail for the

following reasons.

       First, Plaintiffs’ claims against Gillette should be dismissed for lack of personal
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jurisdiction. Plaintiffs fail to establish personal jurisdiction under Missouri’s long-arm statute

because Plaintiffs do not allege that Gillette’s purported predecessor-in-interest, P.R. Mallory,

contracted with Plaintiffs in Missouri or conducted business within Missouri, nor do Plaintiffs

allege that P.R. Mallory contracted to insure a person or risk within Missouri. Further, Plaintiffs

have not alleged any facts to support general jurisdiction, and fail to allege sufficient contacts by

Gillette with Missouri to establish specific jurisdiction under the Due Process Clause.

        Second, even if the Court does have personal jurisdiction over Gillette, certain of Plaintiffs’

claims should still be dismissed. Count I, Breach of Contract for Refusal to Defend, should be

dismissed due to Plaintiffs’ failure to demand defense from Gillette until years after Plaintiffs had

already undertaken and substantially completed their defense of the PCB Lawsuits. Count V,

Negligence, is barred on its face by the statute of limitations. Indeed, Plaintiffs admit that they

began incurring the harm allegedly caused by the PCB Lawsuits more than seven years ago, but

did not invoke their putative right to indemnification by Gillette under the SU until May 13,

2022—well after the five-year statute of limitations expired. Count V is also barred by the

economic loss doctrine because Plaintiffs are seeking to recover in tort for economic losses that

are contractual in nature. Finally, Plaintiffs cannot recover under Counts I and II attorney’s fees,

costs, and expenses that were incurred prior to May 13, 2022, when Plaintiffs finally did inform

Gillette of their claim for indemnification.1

I.      THE COURT LACKS PERSONAL JURISDICTION OVER GILLETTE

        Plaintiffs bear the burden of establishing personal jurisdiction. See Babb v. Bartlett, 638

S.W.3d 97, 105 (Mo. Ct. App. 2021).2 They must plead and prove “that the suit arose from any of


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     Gillette further joins, adopts in whole, and incorporates by reference, Defendants’ Joint Motion
     to Dismiss Counts I-IV and VII of Plaintiffs’ First Amended Petition. (Dkt. Nos. 90, 91).
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     Gillette applies Missouri law for purposes of this Motion only.

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the activities enumerated in . . . the Missouri long[-]arm statute;” and “that the defendant has suf-

ficient minimum contacts with Missouri to satisfy due process requirements.” Id. As relevant

here, Missouri’s long-arm statute authorizes personal jurisdiction when the “cause of action

aris[es] from . . . ‘(1) The transaction of any business within this state; (2) The making of any

contract within this state; . . . [or] (5) The contracting to insure any person, property or risk located

within this state at the time of contracting.” Mo. Rev. Stat. § 506.500(1). The Due Process Clause

requires that a defendant have certain minimum contacts with the forum state such that the mainte-

nance of the suit does not offend “traditional notions of fair play and substantial justice.” Int’l

Shoe Co. v. Washington, 326 U.S. 310, 316 (1954). Due process is satisfied when the court has

either general or specific jurisdiction as the basis for its personal jurisdiction. Helicopteros

Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984). Specific jurisdiction exists when

the lawsuit “[arises] out of or related to defendant’s contacts with the forum.” Id. at 414 n.8.

        A.      The Court Lacks Personal Jurisdiction Under Missouri’s Long-Arm Statute

        The First Amended Petition fails to allege facts sufficient to find that Gillette—or P. R.

Mallory, Gillette’s alleged predecessor-in-interest for purposes of Plaintiffs’ claims—committed

any required acts under Missouri’s long-arm statute sufficient to establish personal jurisdiction.

        Plaintiffs first allege that the “Defendants”—independent, unrelated companies—some-

how collectively satisfy the long-arm statute because “Defendants . . . made contracts within Mis-

souri.” Pet. ¶ 17. Plaintiffs assert that “[t]he final act creating” the SU with P.R. Mallory—“Old

Monsanto’s execution of the agreement—occurred in Missouri.” Id. ¶ 97. But “the final act”

constituting a contract is not the relevant inquiry. “[F]or purposes of long-arm jurisdiction, a con-

tract is made where acceptance occurs.” Wilson Tool & Die, Inc. v. TBDN-Tennessee Co., 237

S.W.3d 611, 615 (Mo. Ct. App. 2007) (emphasis added). Plaintiffs do not allege that the SU was

accepted by P.R. Mallory in Missouri, and so Plaintiffs’ claim to long-arm jurisdiction fails on its
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face. See id. (acceptance occurred in Tennessee when defendant’s representative orally accepted

plaintiff’s offer of services and this did not establish jurisdiction under long-arm statute); State ex

rel. Career Aviation Sales, Inc. v. Cohen, 952 S.W.2d 324, 326 (Mo. Ct. App. 1997) (finding

contract was formed in California when the accepting party signed the contract in California, even

though the offeror later confirmed and signed the contract in Missouri as the final act).3

       In support of jurisdiction, Plaintiffs also allege that Defendants “transacted business within

Missouri.” Pet. ¶ 17. But while Plaintiffs claim that P.R. Mallory conducted operations in several

states other than Missouri—Tennessee, Kentucky, and Indiana—they do not identify any business

transacted by P.R. Mallory in Missouri, and describe no business transacted by Gillette at all. Id.

¶¶ 162, 165. Plaintiffs’ generalized assertions as to “Defendants” cannot save their deficient alle-

gations as to specific defendants for purposes of personal jurisdiction.

       To the extent Plaintiffs rely on allegations regarding Defendants’ “suit-related contacts

with Missouri,” see id. ¶ 17, such generalized assertions are unavailing. Plaintiffs do not allege

that Gillette or P.R. Mallory “visit[ed] Old Monsanto in Missouri regarding PCBs,” id.; rather,

Plaintiffs concede that it was Old Monsanto that visited P.R. Mallory, id. ¶ 37. Plaintiffs do not

allege that Gillette or P.R. Mallory registered to do business in Missouri. Id. ¶ 17; cf. ¶ 11 (alleging

Defendant GE registered to do business in Missouri). Plaintiffs similarly do not allege that Gillette

or P.R. Mallory “communicat[ed] with Old Monsanto in Missouri” or “contact[ed] Old Monsanto

in Missouri by telephone,” id. ¶ 17, and such contacts are insufficient to confer personal jurisdic-

tion in any event. Johnson Heater Corp. v. Deppe, 86 S.W.3d 114, 120 (Mo. Ct. App. 2002)

(“[U]se of the mail or telephone communications, without more, does not constitute the transaction


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    Further, as discussed in Section I.B.1.a of the Memorandum in Support of Cornell-Dubilier
    Electronics, Inc.’s Motion to Dismiss and incorporated here by reference, the SU is a unilateral
    contract agreed to via Plaintiffs’ performance. (Dkt. No. 86).

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of business for purposes of long-arm jurisdiction in Missouri.”).

       Plaintiffs also rely on vague claims regarding “contracts to purchase PCBs . . . that were

executed in Missouri and contained Missouri choice-of-law provisions.” Pet. ¶ 17. But the P.R.

Mallory SU does not contain a Missouri choice-of-law provision and Plaintiffs do not allege that

other P.R. Mallory contracts do. See id. Ex. 6. And even assuming Plaintiffs sufficiently demon-

strated that purchase contracts were executed in Missouri, which they have not, Plaintiffs’ claims

largely “arise from” the SU, not from PCB purchase contracts. See Pet. ¶¶ 236–91, 303–13; Mo.

Rev. Stat. § 506.500(1). Such allegations thus fail to establish long-arm jurisdiction. Cf. State ex

rel. Metal Serv. Ctr. of Georgia, Inc. v. Gaertner, 677 S.W.2d 325, 327 (Mo. 1984) (“The business

may consist of a single transaction, if that is the transaction sued upon.” (emphasis added)); Nat’l

Indem. Co. v. Pierce Waste Oil Serv., Inc., 740 F. Supp. 721, 724 (E.D. Mo. 1990).4

       In an apparent last-ditch effort, Plaintiffs allege that Defendants “contracted to insure a

person, property, or risk located within Missouri.” Pet. ¶ 17. But the SU is plainly not an insurance

contract and is therefore not sufficient to establish jurisdiction under the long-arm statute. See

Babb, 638 S.W.3d at 111 (finding plaintiff’s argument that defendant was “subject to personal

jurisdiction by virtue of agreeing to indemnify” defendant to be “without merit”).

       B.      The Court Lacks Personal Jurisdiction Under The Due Process Clause

       Irrespective of the requirements of a state-long arm statute, a court may assert general ju-




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    Even if the Court takes into account other non-SU-related allegations, they are insufficient to
    establish that Gillette or P.R. Mallory transacted business in Missouri for the same reasons as
    stated in footnote 5, infra. See Restoration St. Louis, Inc. v. 3RD St. IA LLC, No. 4:13-cv-669,
    2014 WL 722409, at *2 (E.D. Mo. Feb. 24, 2014) (explaining that the Missouri long-arm stat-
    ute “will be interpreted to provide for jurisdiction, within the specific categories enumerated
    in the statute, to the full extent permitted by the Due Process Clause.”).

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risdiction over a foreign corporation if its “affiliations with the State are so ‘continuous and sys-

tematic’ as to render them essentially at home in the forum State.” Goodyear Dunlop Tires Oper-

ations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (quoting Int’l Shoe Co., 326 U.S. at 317). Plaintiffs

have not alleged that general jurisdiction is appropriate. See Pet. ¶ 15 (conceding Gillette is at

home in Massachusetts and Delaware), ¶ 17 (alleging only “suit-related contacts”).

       Under the doctrine of specific jurisdiction, if the lawsuit “[arises] out of or related to de-

fendant’s contacts with the forum,” Helicopteros, 466 U.S. at 414 n.8, then the defendant must

“have certain minimum contacts with” the forum state such “that the maintenance of the suit does

not offend traditional notions of fair play and substantial justice.” Int’l Shoe Co., 326 U.S. at 316

(cleaned up). The Eighth Circuit evaluates five factors when determining whether these purpose-

ful, minimum contacts are present: “(1) the nature and quality of the contacts with the forum state;

(2) the quantity of contacts with the forum state; (3) relation of the cause of action to the contacts;

(4) the interest of the forum state in providing a forum for its residents; and (5) the convenience of

the parties.” Institutional Food Mktg. Assocs., Ltd. v. Golden State Strawberries, Inc., 747 F.2d

448, 455 (8th Cir. 1984). Plaintiffs bear the burden of proving that specific jurisdiction exists.

Norman v. Fischer Chevrolet Oldsmobile, Inc., 50 S.W.3d 313, 317 (Mo. Ct. App. 2001).

       Here, Plaintiffs have failed to establish minimum contacts in Missouri. As a preliminary

matter, Plaintiffs plead no facts establishing specific jurisdiction over Gillette for Count V, Negli-

gence, or Count VII, Equitable Contribution. There is no allegation that Gillette or P.R. Mallory

allowed PCBs to be released in Missouri. Contra, e.g., Pet. ¶ 162 (regarding alleged PCB releases

in Tennessee). The other claims against Gillette (Counts I–IV) all arise from the SU; Plaintiffs

cannot establish specific jurisdiction over these claims by relying upon unrelated contacts with

Missouri (which are themselves flawed as a basis for jurisdiction, as explained in Section I.A,



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supra). See Pet. ¶ 17; Goodyear, 564 U.S. at 927 (“A corporation’s ‘continuous activity of some

sorts within a state,’ International Shoe instructed, ‘is not enough to support the demand that the

corporation be amenable to suits unrelated to that activity.’”); Fastpath, Inc. v. Arbela Techs.

Corp., 760 F.3d 816, 821 (8th Cir. 2014) (“[T]he defendant’s suit-related conduct must create a

substantial connection with the forum State.” (emphasis added)).5

       And Plaintiffs’ meager allegations that do relate to the SU are insufficient. There is no

allegation that the SU was entered in Missouri, see Section I.A, and even if it had been, “[m]erely

entering into a contract with a forum resident does not provide the requisite contacts between a

[nonresident] defendant and the forum state.” Iowa Elec. Light & Power Co. v. Atlas Corp., 603

F.2d 1301, 1303 (8th Cir. 1979) (citations omitted); see also Sybaritic, Inc. v. Interport Int’l, Inc.,

957 F.2d 522, 525 (8th Cir. 1992) (finding no minimum contacts in relation to cause of action

arising out of contract because one trip to the forum state and subsequent telephone and mail com-

munications were “too few in number and too attenuated from the cause of action to support juris-

diction”; the contract was negotiated, drafted, presented, and executed outside the forum; and other

forum-based activities, including the manufacture of products in the forum, “were more appropri-

ately treated as unilateral acts not related to the cause of action”). Gillette’s “contacts with Mis-

souri are merely fortuitous, and bear[] no resemblance to [Gillette] purposely availing itself of the

benefits of doing business in Missouri to satisfy due process.” Restoration St. Louis, Inc. v. 3RD


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    Even if these unrelated allegations were considered, they are insufficient to establish minimum
    contacts. See Scullin Steel Co. v. Nat’l Ry. Utilization Corp., 676 F.2d 309, 313 (8th Cir. 1982)
    (where the defendant—who was not authorized to do business in Missouri, had no office or
    personnel in Missouri, owned no property in Missouri, and had no agents in Missouri—entered
    into agreements to purchase goods from a seller in Missouri and sent payment to the seller, no
    minimum contacts existed because the seller was attempting to rely on its performance of the
    contract instead of the defendant’s contacts); CPC-Rexcell, Inc. v. La Corona Foods, Inc., 912
    F.2d 241, 242–43 (8th Cir. 1990) (finding no minimum contacts in Missouri where nonresident
    defendant made telephone calls, orders, and payments by mail to Missouri seller).

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St. IA LLC, No. 4:13-cv-669, 2014 WL 722409, at *4 (E.D. Mo. Feb. 24, 2014) (Autrey, J.) (find-

ing no minimum contacts even where the contract was executed in Missouri because the defendant

had no other contacts with the state).

       Finally, defending this suit in Missouri is burdensome for Gillette. Plaintiffs do not allege

that P.R. Mallory manufactured products containing PCBs in Missouri, and the SU that underpins

Plaintiffs’ claims lacks the necessary connection to Missouri. Exercising personal jurisdiction

over Gillette in Missouri does not further Plaintiffs’ interest in convenient and effective relief,

since much of the evidence related to the SU is likely located outside of Missouri. And Plain-

tiffs’—who operate in and are incorporated under the laws of other states—status as residents of

Missouri is not enough to give Missouri a strong interest in adjudicating the dispute. See Moun-

taire Feeds, Inc. v. Agro Impex, S. A., 677 F.2d 651, 651 (8th Cir. 1982).

       Plaintiffs’ claim to personal jurisdiction over Gillette hangs upon the 1972 execution by

P.R. Mallory of an agreement with a Missouri resident. “If the question is whether an individual’s

contract with an out-of-state party alone can automatically establish sufficient minimum contacts

in the other party’s home forum, . . . the answer clearly is that it cannot.” Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 478 (1985) (emphasis in original).

II.    PLAINTIFFS FAIL TO STATE A CLAIM FOR RELIEF IN COUNTS I AND V,
       AND FOR ANY FEES AND COSTS PRIOR TO MAY 13, 2022

       “[A] complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The “[f]actual allegations must be enough to raise

a right to relief above the speculative level.” Twombly, 550 U.S. at 555. There must be more than

“a sheer possibility that a defendant has acted unlawfully” and “[w]here a complaint pleads facts

that are merely consistent with a defendant’s liability, it stops short of the line between possibility


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and plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted).

Conclusory allegations are “disentitle[d] . . . to the presumption of truth.” Id. at 681.

       A.      Plaintiffs Fail to State a Claim for Breach of Contract for Refusal to Defend

       Plaintiffs fail to state a claim upon which relief can be granted with respect to Count I—

Breach of Contract for Refusal to Defend—against Gillette. The duty to defend is independent of

the duty to indemnify. Travelers Indem. Co. v. S.M. Wilson & Co., No. 4:04-cv-1365, 2005 WL

3143779, at *3 (E.D. Mo. Nov. 23, 2005). The duty to defend is breached “when the indemnitor

rejects an indemnitee’s tender of defense.” Shapiro Sales Co. v. Alcoa, Inc., No. 4:06-cv-638,

2006 WL 2228987, at *2 (E.D. Mo. Aug. 3, 2006).

       Plaintiffs allege that Gillette is obligated to defend and indemnify Plaintiffs in the PCB

Lawsuits, including for “attorneys’ fees, expert fees, and all other costs and expenses” arising

therefrom, and that as a result of Gillette’s breach of this obligation, Plaintiffs have incurred dam-

ages in defending the PCB Lawsuits in the form of fees and other expenses. Pet. ¶¶ 236–49. This

claim rests on the allegation that “Plaintiffs notified Defendants of the PCB Lawsuits, tendered the

defense of the PCB Lawsuits to Defendants, and demanded that Defendants defend Old Monsanto

in the PCB Lawsuits.” Id. ¶ 245. However, Plaintiffs concede that they did not tender defense of

the PCB Lawsuits to Gillette until May 13, 2022. Id. ¶ 229.6 This tender occurred months—and

in several circumstances, years—after Plaintiffs had already undertaken and largely completed

their defense of the PCB Lawsuits, settling Food Chain cases in September 2016, id. ¶ 176; settling

Water Cases in June 2020, id. ¶ 187; facing jury verdicts in School Cases in June 2021 and No-

vember 2021, id. ¶ 194; and settling at least one Occupational Case in December 2021, id. ¶ 200.

       Gillette can hardly be said to have breached its duty to defend the PCB Lawsuits when


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    In contrast, Plaintiffs tendered defense of the PCB Lawsuits to other Defendants—each of
    which allegedly signed SUs—by August 2016. See Pet. ¶¶ 205, 211, 216, 221, 225.
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Plaintiffs failed to tender the cases to Gillette until after they had been defended and, in many

cases, resolved. Cf. Travelers Indem. Co., 2005 WL 3143779, at *3 (finding breach of duty to

defend when indemnitee notified indemnitor of the lawsuit at issue and indemnitor “was afforded

a full opportunity to defend [the indemnitee] . . . but chose not to”). Count I should therefore be

dismissed against Gillette. At a minimum, Gillette should not be liable for any damages incurred

prior to May 13, 2022, the date of Plaintiffs’ tender.

           B.     Count V is Barred By the Statute of Limitations Because Plaintiffs Sustained
                  and Were Capable of Ascertaining Damages Prior to August 3, 2017

           Count V, Negligence, alleges that Gillette breached its duty of care by allowing PCBs to

be released into the environment, causing the PCB Lawsuits to be filed against Plaintiffs and lead-

ing Plaintiffs to suffer damages as a result. Pet. ¶¶ 285–91. But the First Amended Petition estab-

lishes on its face that the statute of limitations on this claim has run. See Cush-El v. Synchrony

Bank, No. 4:19-cv-2771, 2020 WL 122926, at *2 (E.D. Mo. Jan. 10, 2020) (granting Rule 12(b)(6)

dismissal on statute of limitations grounds where defense was established on the face of the com-

plaint).

           Negligence is subject to a five-year statute of limitations. Mo. Rev. Stat. § 516.120. Such

claims must be commenced within five years after the cause of action accrues, which is “not . . .

when the wrong is done or the technical breach of contract or duty occurs, but when the damage

resulting therefrom is sustained and is capable of ascertainment.” Mo. Rev. Stat. § 516.100. This

is an objective test: “an injury is capable of ascertainment when the ‘evidence was such to place a

reasonably prudent person on notice of a potentially actionable injury.’” Vogt v. State Farm Life

Ins. Co., 963 F.3d 753, 765 (8th Cir. 2020). The damage sustained need not be precise; rather,

“[t]he most that is required is that some damages have been sustained, so that the claimants know

that they have a claim for some amount.” Dixon v. Shafton, 649 S.W.2d 435, 439 (Mo. 1983).


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       Plaintiffs named Gillette as a defendant on August 3, 2022, seeking damages incurred in

defending and resolving the PCB Lawsuits. See Pet. ¶ 290. But as demonstrated from the face of

Plaintiffs’ own pleadings, Plaintiffs were on notice of these alleged injuries earlier than August 3,

2017—five years prior to the filing of the First Amended Petition. For example, the First Amended

Petition acknowledges that Plaintiffs were named as defendants in PCB Lawsuits more than five

years ago. See, e.g., Pet. Ex. 11 (complaint filed on August 3, 2015 in City of San Diego v. Mon-

santo Co., et al., No. 3:15-cv-578 (S.D. Cal)).7 And Plaintiffs began incurring the costs of defend-

ing these PCB Lawsuits at this time. Id. ¶¶ 169, 178, 189, 197 (stating that Plaintiffs were named

as defendants in the PCB Lawsuits). In fact, Plaintiffs also began incurring the costs of resolving

these Lawsuits before August 3, 2017—for example, entering into a settlement and paying “a sig-

nificant amount” to resolve certain of the PCB Lawsuits in September 2016. Id. ¶ 176.

       Plaintiffs thus suffered at least “some” ascertainable damages before August 3, 2017,

which they themselves characterize as “significant.” Under Missouri law, this triggered accrual

of the statute of limitations. See Dixon, 649 S.W.2d at 438 (finding appellants had suffered “some

damage” when they hired counsel that would have otherwise been unnecessary); Bormaster v.

Baldridge, 723 S.W.2d 533, 540 (Mo. Ct. App. 1987) (negligence claim accrued when appellant

paid an initial $500 fee to an attorney to represent him in litigation that had not yet settled).8



7
    See also Pet. Ex. 12 (complaint filed on January 25, 2016 in City of Seattle v. Monsanto Co.,
    et al., No. 2:16-cv-107 (W.D. Wash.)); id. Ex. 13 (complaint filed on May 19, 2016 in City of
    Long Beach v. Monsanto Co., et al., No. 2:16-cv-3493 (C.D. Cal.)); id. Ex. 14 (complaint filed
    on July 12, 2016 in City of Portland v. Monsanto Co., et al., No. 3:16-cv-1418 (D. Or.)); id.
    Ex. 15 (complaint filed on November 10, 2015 in City of Oakland v. Monsanto Co., et al., No.
    3:15-cv-5152 (N.D. Cal.)); id. Ex. 17 (complaint filed in February 2016 in Lamkin v. Monsanto
    Co., et al., No. 16-0563E (Mass. Sup. Ct.)).
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    “[A] cause of action may accrue even though the full extent of the plaintiff’s injuries is not yet
    determinable.” Duvall v. Yungwirth, 613 S.W.3d 71, 80 (Mo. Ct. App. 2020). Here, additional
                                                                             (Cont’d on next page)
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       That Plaintiffs may incur additional damages by continuing to defend and resolve the PCB

Lawsuits does not alter the result:

       [t]he fact of damage may be ascertainable even if the exact amount of damage can-
       not be verified or if some additional damage may arise at a future time. All possible
       damages do not have to be known, or even knowable, before the statute accrues.
       That additional damage may yet occur does not matter.
Duvall v. Yungwirth, 613 S.W.3d 71, 77 (Mo. Ct. App. 2020) (internal quotation marks and cita-

tions omitted). Because at least some of Plaintiffs’ damages allegedly incurred as a result of Gil-

lette’s negligence were ascertainable before August 3, 2017, additional damages incurred after that

time do not surmount the time bar. Count V is thus barred on its face by the statute of limitations.

At a minimum, Plaintiffs’ negligence claims premised upon PCB Lawsuits for which they sus-

tained “some damages” prior to August 2017 are time-barred. See Dixon, 649 S.W.2d at 439.

       C.      Count V Should Be Dismissed Based on the Economic Loss Doctrine

       Count V should be dismissed for the independent reason that it is prohibited under the

economic loss doctrine. “The economic loss doctrine prohibits a plaintiff from seeking to recover

in tort for economic losses that are contractual in nature. . . . Recovery in tort for pure economic

damages are only limited to cases where there is personal injury, damage to property other than

that sold, or destruction of the property sold due to some violent occurrence.” Captiva Lake Invs.,

LLC v. Ameristructure, Inc., 436 S.W.3d 619, 628 (Mo. Ct. App. 2014).

       Here, under the guise of a negligence claim, Plaintiffs are attempting to recover precisely



   defense costs, settlement payments, and/or jury verdicts that occurred after August 3, 2017 are
   merely additional developments of the original injury—the costs of defending and resolving
   the PCB Lawsuits. Missouri courts have often had the occasion to consider accrual of negli-
   gence claims prior to the resolution of collateral litigation (like the PCB Lawsuits) and have
   “repeatedly” held that the “the statute of limitations commenced to run before resolution of the
   underlying dispute upon which those claims were based.” Id. at 78 (internal quotation marks
   omitted) (rejecting argument that an underlying settlement—in which the plaintiffs incurred
   damages by making a settlement payment—was a distinct “last item of damage” and instead
   finding it was the development of a much older injury suffered due to negligence).
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the types of losses prohibited by the economic loss doctrine—the costs of defending and resolving

the PCB Lawsuits allegedly resulting from breach of the SU. Missouri courts have routinely dis-

missed for failure to state a claim such attempts to recover contractual damages pursuant to a tort

claim. See Dubinsky v. Mermart LLC, No. 4:08-cv-1806, 2009 WL 1011503, at *5 (E.D. Mo. Apr.

15, 2009), aff’d, 595 F.3d 812 (8th Cir. 2010) (“Plaintiffs’ negligence claim, in essence, states that

defendant breached this contractual duty. Because this breach resulted in only pecuniary losses,

plaintiffs cannot bring a negligence claim.”); Wells Fargo Bank, N.A. v. Derrick Thomas Acad.

Charter Sch., Inc., No. 13-cv-767, 2014 WL 835891, at *3 (W.D. Mo. Mar. 4, 2014) (“[T]he es-

sence of Plaintiff’s claim is contractual in nature, stemming from a contractual obligation allegedly

breached by Defendants. As such, Missouri law prohibits Plaintiff from seeking to recover in tort

for pure economic damages . . . [and] Plaintiff fails to state a claim for negligence.”).9

       D.      Plaintiffs Cannot Recover Attorney’s Fees Prior to May 13, 2022

       In Counts I and II, Plaintiffs seek reimbursement for attorney’s fees and associated costs

for their defense of the PCB Lawsuits. Pet. ¶ 248, 261. An indemnitee can recover attorney’s fees

it reasonably incurs in defending an action, but only if “the indemnitor has notice of the law suit

and an opportunity to defend” it. Bagby v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 491 F.2d

192, 198 (8th Cir. 1974); Hales v. Green Colonial, Inc., 402 F. Supp. 738, 743 (W.D. Mo. 1975),

aff’d in part, remanded in part sub nom. Hales v. Monroe, 544 F.2d 331 (8th Cir. 1976).

       Here, Plaintiffs began defending the PCB Lawsuits and incurring attorney’s fees, costs and




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    On this point, Gillette also incorporates by reference and joins in Section II of Defendant Kyoc-
    era AVX Components Corporations’ Memorandum of Law in Support of Motion to Dismiss.
    (Dkt. No. 83). Just as Plaintiffs only reference KAVX’s alleged breach of duty with a claim
    that KAVX released PCBs in Massachusetts and Ontario, see id., Plaintiffs also only reference
    Gillette’s alleged breach of duty with a claim that P.R. Mallory released PCBs into the envi-
    ronment in Tennessee, Kentucky, and Indiana. See Pet. ¶¶ 161–65.

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expenses in 2015. See, e.g., Pet. Ex. 15 (complaint filed on November 10, 2015 in City of Oakland

v. Monsanto Co., et al., No. 3:15-cv-5152 (N.D. Cal.)). But Plaintiffs did not notify Gillette of the

PCB Lawsuits for which they are seeking indemnification, nor did they provide an opportunity

for Gillette to defend itself in these cases, at that time. Id. ¶ 229. Instead, Plaintiffs continued

incurring defense costs for years, ultimately resolving many of the PCB Lawsuits long before they

tendered this matter to Gillette on May 13, 2022: the Food Chain cases settled in September 2016,

id. ¶ 176; some of the Water Cases settled in June 2020, id. ¶ 187; some of the School Cases

resolved in June 2021, November 2021, id. ¶ 194; and some of the Occupational Cases settled in

December 2021, id. ¶ 200. As a result, Plaintiffs cannot recover attorney’s fees, costs, and

expenses incurred prior to demand for indemnification on May 13, 2022. See, e.g., Ward v. City

Nat. Bank & Tr. Co. of Kansas City, 379 S.W.2d 614, 621 (Mo. 1964) (finding that refusal to allow

the recovery of attorneys’ fees was justified where “[third-party plaintiff] admitted it gave no

notice nor did it request [third-party defendants] to defend [plaintiff’s] suit”).

III.    CONCLUSION

        For the foregoing reasons, Gillette respectfully requests that this Court dismiss Plaintiffs’

First Amended Petition against Gillette in its entirety for lack of personal jurisdiction, or, in the

alternative, dismiss Count I for failure to state a claim upon which relief may be granted, dismiss

Count V as barred by the statute of limitations and by the economic loss doctrine, and dismiss

claims under Counts I and II for attorney’s fees, costs, and expenses incurred prior to May 13,

2022.




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 Dated: May 1, 2023
                                                  Respectfully submitted,
                                                  BERRY SILBERBERG STOKES PC

                                                  /s/ Robert P. Berry
                                                  Robert P. Berry, #46236 (MO)
                                                  Andrew D. Lamb, #59600 (MO)
                                                  16150 Main Circle Drive, Suite 120
                                                  St. Louis, Missouri 63017
                                                  Telephone: (314) 480-5881
                                                  Facsimile: (314) 480-5884
                                                  Email: rberry@berrysilberberg.com
                                                         alamb@berrysilberberg.com

                                                  Attorneys for Defendant The Gillette
                                                  Company LLC



                                CERTIFICATE OF SERVICE

       I certify that on May 1, 2023, a true and accurate copy of the foregoing was filed with the

Court via CM/ECF, which will send a notice of electronic filing to all counsel of record.

                                                    /s/ Robert P. Berry




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